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UNITED STATES DISTRICT COURT
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WESTERN DISTRICT OF TENNESSE

 

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ISAAC B. T]fC-}RE'.I."I.',l JUDGMENT IN A CIVIL CASE
Plaintiff,
v.
UNITED STATES OF AMERICA, CASE NO: 03-2659 Ml/V
Defendant.

 

JUDGMENT

 

JUDGMENT BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in accordance
with the Opinion and Order Following Non-Jury Trial, entered
August 3, 2005, judgment is hereby entered in favor of Plaintiff
Isaac B. Tigrett and against Defendant United States of America
regarding Plaintiff’s claim that he is entitled to deduct
$22,601.00 in legal fees and $1,709.00 in interest expenses
pursuant to 26 U.S.C. §§ 162 and 212. Judgment is hereby entered
in favor of Defendant and against Plaintiff regarding all of
Plaintiff’s remaining claims.

APPROVED:

@M@Q

JON P. MCCALLA
UN :D STATES DISTRICT COURT

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Notice of Distribution

This notice confirms a copy of the document docketed as number 52 in
case 2:03-CV-02659 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

 

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Honorable Jon McCalla
US DISTRICT COURT

